Case 1:07-cr-00874-JBW              Document 617           Filed 01/20/12   Page 1 of 1 PageID #: 3047


                                                                                                      FillED
                                                                                                    IN CLERK'S OFFIce
  UNITED STATES DISTRICT COURT                                                                u.s. DISTRICT COURT E.D.N. Y.
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------x
                                                                                              * JAN 2 0 2012 *
  UNITED STATES OF AMERICA,                                                                   BROOKLYN OFFICE
                                                                                  ORDER
          -against-

  JOHN ARMSTRONG,                                                                 07-CR-S74

                            Defendants.
  ---------------------------------------------------------x
  JACK B. WEINSTEIN, Senior United States District Judge:

          For the reasons stated on the record, the motion for resentencing is denied. Defendant

  John Armstrong stipulated at his plea that he was accountable for conspiring to distribute more

  than 500 grams of cocaine base. Tr. of Criminal Cause for Pleading 27:16-18, July 1,2008. At

  his sentencing hearing on November 25, 2008, defendant's adjusted offense level was found to

  be thirty-one, with a criminal history category of III, resulting in a guidelines ranges of 135 to

  168 months. He was sentenced to eighty-four months of imprisonment. Doc. Entry 194, Nov.

  25,2008. Pursuant to the Fair Sentencing Act (FSA) adjusted guidelines, defendant's adjusted

  offense level would be twenty-nine, resulting in a guidelines range of 108 to 135 months .
                                                                         . '-------_.--"'-----.
                                                                              "




  Because his current sentence is "less than the minimum of the amended guideline range," and he

  did not render substantial assistance to the government, he is not eligible for resentencing. U.S.

  Sentencing Guidelines Manual § IB1.10(b)(2)(A) (2011); id. cmt. n.2 (2011); see also Dillon v.

  United States, 130 S.Ct. 2683, 2691-92 (2010).




                                                                     ack B. Weinstein
                                                                    Senior United States District Judge

  Dated: January 20, 2012
         Brooklyn, New York
